     Case 4:21-cv-11390-SDD-CI ECF No. 1, PageID.1 Filed 06/14/21 Page 1 of 13



                         UNITED STATES DISTRICT COURT
                           FOR THE EASTERN DISTRICT
                              SOUTHERN DIVISION

 DIANA THORNTON,
                                            USDC Case No.
         Plaintiff,                         Hon:

 v                                          Case No.: 21-005341-NO
                                            Hon.: Patricia Perez Fresard
 WALMART STORES, INC., a
 Foreign Profit Corporation,
 WAL-MART STORES, EAST,
 LIMITED PARTNERSHIP, a
 Foreign Limited Partnership,
 WAL-MART ASSOCIATES, INC.,
 A Foreign Profit Corporation,

         Defendants.

__________________________________________________________________________________________
 BRIAN L. FANTICH (P60935)                       RICHARD G. SZYMCZAK (P29230)
 CARRA J. STOLLER (P64540)                       PLUNKETT COONEY
 ADAM J. GANTZ (P58558)                          Attorney for Defendant
 LAW OFFICE OF KELMAN & FANTICH                  38505 Woodward Avenue, Suite 100
 Attorneys for Plaintiff                         Bloomfield Hills, MI 48304
 30903 Northwestern Highway                      (810) 342-7007 | Fax: (248) 901-4040
 Suite 270                                       rszymczak@plunkettcooney.com
 Farmington Hills, MI 48334
 (248) 855-0100
 kelmanandassociates@yahoo.com



                           NOTICE OF FILING REMOVAL

                      NOTICE OF REMOVAL TO FEDERAL COURT

                                   VERIFICATION

                            CERTIFICATE OF SERVICE
  Case 4:21-cv-11390-SDD-CI ECF No. 1, PageID.2 Filed 06/14/21 Page 2 of 13



                                         PLUNKETT COONEY

                                   By: /s/Richard G. Szymczak____________
                                       Richard G. Szymczak (P29230)
                                       Attorney for Defendants
                                       38505 Woodward Avenue, Suite 100
                                       Bloomfield Hills, MI 48304
Dated: June 14, 2021                    (810) 342-7007




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     Case 4:21-cv-11390-SDD-CI ECF No. 1, PageID.3 Filed 06/14/21 Page 3 of 13



                          UNITED STATES DISTRICT COURT
                            FOR THE EASTERN DISTRICT
                               SOUTHERN DIVISION

 DIANA THORNTON,
                                                USDC Case No.
         Plaintiff,                             Hon:

 v                                              Case No.: 21-005341-NO
                                                Hon.: Patricia Perez Fresard
 WALMART STORES, INC., a
 Foreign Profit Corporation,
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 kelmanandassociates@yahoo.com



                             NOTICE OF FILING REMOVAL
______________________________________________________________________________________________

 TO:     Brian L. Fantich (P60935)                        Wayne County Circuit Court
         Law Offices of Kelman & Fantich                  Clerk of the Court
         30903 Northwestern Hwy, Suite 270                2 Woodward Avenue
         Farmington Hills, MI 48334                       Detroit, MI 48226
  Case 4:21-cv-11390-SDD-CI ECF No. 1, PageID.4 Filed 06/14/21 Page 4 of 13



      PLEASE TAKE NOTICE that this Defendant, Wal-Mart Stores East, LP, a

Foreign Limited Partnership, misidentified as Walmart Stores, Inc. and Wal-

Mart Associates, Inc., has this day filed a Notice of Removal, a copy of which is

attached hereto, in the office of the Clerk of the United States District Court,

Eastern District of Michigan, Southern Division.

                                             PLUNKETT COONEY


                                      By: /s/Richard G. Szymczak________
                                          Richard G. Szymczak (P29230)
                                          Attorney for Defendant
                                          38505 Woodward Avenue, Suite 100
                                          Bloomfield Hills, MI 48304
                                          (810) 342-7007
Dated: June 14, 2021

                               PROOF OF SERVICE

                The undersigned certifies that on the 14th day of June
                2021, a copy of the foregoing document was served
                upon the attorney(s) of record in this matter at their
                stated business address as disclosed by the records
                herein via:

                    Hand delivery                Overnight mail
                    U.S. Mail                    Facsimile
                    Email                        Electronic e-file

                I declare under the penalty of perjury that the
                foregoing statement is true to the best of my
                information, knowledge and belief.

                              /s/Della Dubovsky
                                 Della Dubovsky
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     Case 4:21-cv-11390-SDD-CI ECF No. 1, PageID.5 Filed 06/14/21 Page 5 of 13




                          UNITED STATES DISTRICT COURT
                            FOR THE EASTERN DISTRICT
                               SOUTHERN DIVISION

 DIANA THORNTON,
                                                USDC Case No. 21-CV-11390
         Plaintiff,                             Hon:

 v                                              Case No.: 21-005341-NO
                                                Hon.: Patricia Perez Fresard
 WALMART STORES, INC., a
 Foreign Profit Corporation,
 WAL-MART STORES, EAST,
 LIMITED PARTNERSHIP, a
 Foreign Limited Partnership,
 WAL-MART ASSOCIATES, INC.,
 A Foreign Profit Corporation,

         Defendants.

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 BRIAN L. FANTICH (P60935)                       RICHARD G. SZYMCZAK (P29230)
 CARRA J. STOLLER (P64540)                       PLUNKETT COONEY
 ADAM J. GANTZ (P58558)                          Attorney for Defendant
 LAW OFFICE OF KELMAN & FANTICH                  38505 Woodward Avenue, Suite 100
 Attorneys for Plaintiff                         Bloomfield Hills, MI 48304
 30903 Northwestern Highway                      (810) 342-7007 | Fax: (248) 901-4040
 Suite 270                                       rszymczak@plunkettcooney.com
 Farmington Hills, MI 48334
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 kelmanandassociates@yahoo.com



                     NOTICE OF REMOVAL TO FEDERAL COURT
______________________________________________________________________________________________

TO:     Clerk of the Court
        Brian L. Fantich, Esq.
  Case 4:21-cv-11390-SDD-CI ECF No. 1, PageID.6 Filed 06/14/21 Page 6 of 13




      DEFENDANT, WAL-MART STORES EAST, LP, a Foreign Limited

Partnership, misidentified as Walmart Stores, Inc. and Wal-Mart Associates,

Inc., (“WM”) submits this Notice of Removal

      1.     On or about April 28, 2021, Plaintiff filed a civil action in the Wayne

County Circuit Court, State of Michigan, bearing Case No. 21-005341-NO, in which

Diana Thornton is the Plaintiff and WM is the Defendant. A copy of the Complaint

filed in the Wayne County Circuit Court is attached to this Notice of Removal as

Exhibit A.

      2.     This action, as alleged in the Complaint, is a suit brought by Plaintiff

against WM for negligence and premises liability.

      3.     This action is between citizens of different states. The Plaintiff is a

resident of the County of Wayne, State of Michigan (see Paragraph 1 of Exhibit A).

WM is a Delaware limited partnership whose members are WSE Management,

LLC and WSE Investment LLC, both of which are Delaware limited liability

companies based in Arkansas). The sole member of both WSE Management,

LLC and WSE Investment, LLC is Wal-Mart Stores East, LLC, which is an

Arkansas limited liability company with its principal place of business in

Bentonville, Arkansas. The sole member of Wal-Mart Stores East LLC is Wal-

Mart Inc., formerly Wal-Mart Stores, Inc., a Delaware corporation with its

principal place of business in Bentonville, Arkansas.
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      4.     WM is not a corporation created or organized under the laws of the

State of Michigan, is not domiciled in Michigan and does not have its principal place

of business in the State of Michigan.

      5.     The action filed by Plaintiff against WM is one involving complete

diversity of citizenship under 28 U.S.C. § 1332 as a civil action between citizens of

the State of Michigan and the State of Delaware.

      6.     The alleged date of incident is June 23, 2018.

      7.     WM asserts it is more likely than not that the amount in controversy

sought by Plaintiff exceeds the jurisdictional requirements of 28 U.S.C. § 1332(a)

because Plaintiff specifically alleges total damages “in excess of $25,000.00” as

Plaintiff has declined to cap her damages. below the jurisdictional limit.

      8.     Plaintiff’s Complaint sets forth allegations that she suffered:

             a. Severe injuries to her right knee resulting in a torn meniscus;
                altered gain; permanent limp, inability to ambulate, permanent
                scarring; diminished extension, flexion, and range of motion;
                injuries to left lower arm; injuries to her head, neck, back, and
                spine; severe injuries to her upper and lower extremities; decrease
                in gross and fine motor skills; severe shock, as well as physical pain
                and suffering;

             b. The requirement of intense therapy for injuries which are
                permanent in nature;

             c. Severe humiliation and embarrassment, which is of an ongoing and
                permanent nature;



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              d. Loss of full ability to perform the normal vocational and
                 avocational activities of life, and which prevent Plaintiff from
                 participating in recreational activities, which loss is permanent;

              e. Past, present and future hospital, medical, and pharmaceutical bills
                 for treatment and medication;

              f. Severe, frequent and persistent pain which is of a continuing and
                 permanent nature.


        9.    This Notice of Removal is timely filed within thirty (30) days after the

Complaint was filed and served upon WM, as the Complaint was served on May 19,

2021.

        10.   A written notice of the filing of this Notice of Removal has been given

to all parties as required by law, and a proof of service is attached hereto as Exhibit

B.

        11.   A written notice of this Removal has been filed with the Clerk of the

Court for the Wayne County Circuit Court, State of Michigan, as provided by law.

        12.   Based upon the foregoing, WM is entitled to removal of this action to

the United States District Court for the Eastern District of Michigan, under 28 U.S.C.

§ 1441, et seq.

        WHEREFORE, Defendant, WM, respectfully requests that it be allowed to

effect removal of the within action from the 3rd Circuit Court for the County of




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Wayne, State of Michigan, to the United States District Court for the Eastern District

of Michigan.

                                              PLUNKETT COONEY


                                       By: /s/Richard G. Szymczak____________
                                           Richard G. Szymczak (P29230)
                                           Attorney for Defendants
                                           38505 Woodward Avenue, Suite 100
                                           Bloomfield Hills, MI 48304
Dated: June 14, 2021                       (810) 342-7007




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 Case 4:21-cv-11390-SDD-CI ECF No. 1, PageID.10 Filed 06/14/21 Page 10 of 13




                        UNITED STATES DISTRICT COURT
                          FOR THE EASTERN DISTRICT
                             SOUTHERN DIVISION

 DIANA THORNTON,
                                            USDC Case No. 21-CV-11390
       Plaintiff,                           Hon:

 v                                          Case No.: 21-005341-NO
                                            Hon.: Patricia Perez Fresard
 WALMART STORES, INC., a
 Foreign Profit Corporation,
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 ADAM J. GANTZ (P58558)                          Attorney for Defendant
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 Attorneys for Plaintiff                         Bloomfield Hills, MI 48304
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 kelmanandassociates@yahoo.com



                                  VERIFICATION
 Case 4:21-cv-11390-SDD-CI ECF No. 1, PageID.11 Filed 06/14/21 Page 11 of 13




      RICHARD G SZYMCZAK, first being duly sworn, states that he is the attorney

for Defendant and that the foregoing Notice of Removal is true in substance and in

fact to the best of his knowledge, information, and belief.

                                              Respectfully submitted,

                                              PLUNKETT COONEY


                                       By: /s/Richard G. Szymczak____________
                                           Richard G. Szymczak (P29230)
                                           Attorney for Defendant
                                           38505 Woodward Avenue, Suite 100
                                           Bloomfield Hills, MI 48304
Dated: June 14, 2021                        (810) 342-7007




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 Case 4:21-cv-11390-SDD-CI ECF No. 1, PageID.12 Filed 06/14/21 Page 12 of 13




                          UNITED STATES DISTRICT COURT
                            FOR THE EASTERN DISTRICT
                               SOUTHERN DIVISION

 DIANA THORNTON,
                                                USDC Case No. 21-CV-11390
       Plaintiff,                               Hon:

 v                                              Case No.: 21-005341-NO
                                                Hon.: Patricia Perez Fresard
 WALMART STORES, INC., a
 Foreign Profit Corporation,
 WAL-MART STORES, EAST,
 LIMITED PARTNERSHIP, a
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        Defendants.

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 ADAM J. GANTZ (P58558)                          Attorney for Defendant
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                               CERTIFICATE OF SERVICE
______________________________________________________________________________________________
 Case 4:21-cv-11390-SDD-CI ECF No. 1, PageID.13 Filed 06/14/21 Page 13 of 13




        I hereby certify that on June 14, 2021, I electronically filed Defendant’s

Notice of Filing Removal, Notice of Removal to Federal Court, Verification,

and Certificate of Service with the Clerk of the Court using the ECF system, or

in the alternative, I have mailed by United States Postal Service to any parties

that are not ECF participants.

                                             Respectfully submitted,

                                             PLUNKETT COONEY


                                      By:/s/Richard G. Szymczak________
                                          Richard G. Szymczak (P29230)
                                          Attorney for Defendant
                                          38505 Woodward Avenue, Suite 100
                                          Bloomfield Hills, MI 48304
                                          (810) 342-7007
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